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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

RANDOLPH WILLIAMS, III                        *           No. 19-CV-12841 C/W 19-14234
                                                          Applies to No. Both Cases
                                              *
VERSUS                                                    SECTION “T” (3)
                              *
ALEJANDRO MAYORKAS, SECRETARY,                            JUDGE GUIDRY
DEPARTMENT OF HOMELAND        *
SECURITY                                                  MAGISTRATE DOUGLAS
                         *    *                       *

              EX PARTE MOTION TO ENROLL ADDITIONAL COUNSEL

       NOW INTO COURT, through the undersigned Assistant United States Attorney, comes

defendant, Alejandro Mayorkas, Secretary, Department of Homeland Security, who respectfully

moves this Honorable Court under LR 83.2.12 to enroll Mary Katherine Kaufman as additional

counsel of record. It is further respectfully submitted that Ms. Kaufman’s addition to the case

will not jeopardize any deadlines.

       Ms. Kaufman’s mailing and e-mail addresses are as follows:

                              Mary Katherine Kaufman, (#32719)
                              Assistant United States Attorney
                              650 Poydras Street, Suite 1600
                              New Orleans, Louisiana 70130
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                              Mary.Katherine.Kaufman@usdoj.gov




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       WHEREFORE, defendant, Alejandro Mayorkas, Secretary, Department of Homeland

Security, prays that this motion be granted and that Mary Katherine Kaufman be enrolled as

additional counsel of record on his behalf.


                                              Respectfully submitted,
                                              DUANE EVANS
                                              UNITED STATES ATTORNEY


                                                 /s/ Sandra Ema Gutierrez
                                              SANDRA EMA GUTIERREZ (LA #17888)
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                                              Department of Homeland Security




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